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 8
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 9   UNITED STATES OF AMERICA

10                            UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                No. 8:20-MJ-00490-DUTY

13              Plaintiff,                    GOVERNMENT'S NOTICE OF REQUEST FOR
                                              DETENTION
14                    v.

15   ( RONALD BERNARD WARE,

16
                Defendant.
17

18
           Plaintiff, United States of America, by and through its counsel
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     of record, hereby requests detention of defendant and gives notice of
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     the following material factors:
21
          1.    Temporary 10-day Detention Requested (~ 3142(d)) on the
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                following grounds:
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          ❑    a.   present offense committed while defendant was on release
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                    pending (felony trial),
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          ❑    b.   defendant is an alien not lawfully admitted for
26
                    permanent residence; and
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          ❑    c.   defendant may flee; or
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 1       ❑    d.    pose a danger to another or the community.

 2       2.    Pretrial Detention Requested (§ 3142(e)) because no

 3             condition or combination of conditions will reasonably

 4             assure:

 5             a.    the appearance of the defendant as required;

 6             b.    safety of any other person and the community.

 7   ❑   3.    Detention Requested Pending Supervised Release/Probation

 8             Revocation Hearing (Rules 32.1(a)(6), 46(d), and 18 U.S.C.

 9             ~ 3143(a)):

10       ❑     a.    defendant cannot establish by clear and convincing

11                  evidence that he/she will not pose a danger to any

12                  other person or to the community;

13       ❑    b.    defendant cannot establish by clear and convincing

14                  evidence that he/she will not flee.

15       4.   Presumptions Applicable to Pretrial Detention (18 U.S.C.

16            ~ 3142(e))

17       ❑    a.    Title 21 or Maritime Drug Law Enforcement Act ("MDLEA")

18                  (46 U.S.C. App. 1901 et seq.) offense with 10-year or

19                  greater maximum penalty (presumption of danger to

20                  community and flight risk);

21       ❑    b.    offense under 18 U.S.C. ~~ 924(c), 956(a), 2332b, or

22                  2332b(g)(5)(B) with 10-year or greater maximum penalty

23                  (presumption of danger to community and flight risk);

24       ❑    c.    offense involving a minor victim under 18 U.S.C.

25                  ~§ 1201, 1591, 2241, 2242, 2244(a)(1), 2245, 2251,

26                  2251A, 2252(a)(1)-(a) (3), 2252A(a)(1)-2252A(a)(4),

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 1                  2260, 2421, 2422, 2423 or 2425 (presumption of danger

 2                  to community and flight risk);

 3      ❑     d.    defendant currently charged with an offense described

 4                  in paragraph 5a - 5e below, AND defendant was

 5                  previously convicted of an offense described in

 6                  paragraph 5a - 5e below (whether Federal or

 7                  State/local), AND that previous offense was committed

 8                  while defendant was on release pending trial, AND the

 9                  current offense was committed within five years of

10                  conviction or release from prison on the above-

11                  described previous conviction (presumption of danger to

12                  community).

13      5.    Government Is Entitled to Detention Hearing Under ~ 3142(f)

14            If the Case Involves:

15      ❑     a.    a crime of violence (as defined in 18 U.S.C.

16                  § 3156(a)(4)) or Federal crime of terrorism (as defined

17                 'in 18 U.S.C. § 2332b(g)(5)(B)) for which maximum

18                 . sentence is 10 years' imprisonment or more;

19      ❑     b.    an offense for which maximum sentence is life

20                  imprisonment or death;

21      ❑     c.    Title 21 or MDLEA offense for which maximum sentence is

22                  10 years' imprisonment or more;

23      ❑     d.    any felony if defendant has two or more convictions for

24                  a crime set forth in a-c above or for an offense under

25                 ' state or local law that would qualify under a, b, or c

26                  if federal jurisdiction were present, or a combination

27                  or such offenses;



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 2             e.    any felony not otherwise a crime of violence that

 3                   involves a minor victim or the possession or use of a

 4                   firearm or destructive device (as defined in 18 U.S.C.

 5                   ~ 921), or any other dangerous weapon, or involves a

 6                   failure to register under 18 U.S.C. § 2250;

 7             f.    serious risk defendant will flee;

 8        ❑    g.    serious risk defendant will (obstruct or attempt to

 9                  • obstruct justice) or (threaten, injure, or intimidate

10                   prospective witness or juror, or attempt to do so).

11        6.   Government requests continuance of              days for detention

12             hearing under ~ 3142(f) and based upon the following

13             reason(s):

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                                          n
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 1   ❑   7.   Good. cause for continuance in excess of three days exists in

 2            that:

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 7

 8   Dated: August 11, 2020              Respectfully submitted,
 9                                       NICOLA T. HANNA
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11                                      Assistant United States Attorney
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12

13                                           /s/
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14                                      Assistant United States Attorney
15                                      Attorneys for Plaintiff
                                        UNITED STATES OF AMERICA
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